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             EXHIBIT B
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                            Trump Alioto Trump & Prescott
                                        ATTORNEYS LLP
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                                           January 11, 2016

VIA JAMS E-FILING

Martin Quinn, Special Master
JAMS
Two Embarcadero Center, Suite 1500
San Francisco, CA 94111

Re:     In Re: Cathode Ray Tubes (CRT) Antitrust Litigation,
        Case No. 07-cv-5944 JST, MDL 1917

Dear Special Master Quinn:

        At the hearing on January 5, 2016, Paul Novak on behalf of Indirect Purchaser
Plaintiffs made reference to certain cases holding that it is appropriate for a district court
to award up to treble damages under the antitrust laws as an alternative to distributing any
remaining settlement monies on a cy pres basis. You requested that we provide the cases
to you after the hearing. See Rough Hearing Tr., 98:9-12; 119:5-9.

        Cases recognizing a court’s ability to allow treble damage distribution to antitrust
plaintiffs include the following: Masters v. Wilhemina Model Agency, Inc., 473 F.3d 423
(2d Cir. 2007) (“a treble damages award did lie within the ambit of the District Court’s
discretion and should be considered on remand”); In re Publ’n Paper Antitrust Litig.,
Nos. 3:04 MD 1631 (SRU), 3:05 CV 1339 (SRU), 3:05 CV 1339 (SRU), NO. 3:05 CV
1358 (SRU), 3:05 CV 1381 (SRU), 2009 U.S. Dist. LEXIS 66654, at *23 (D. Conn.
2009) (“In assessing the proper disbursement of excess settlement funds, along with any
cy pres award, I am to consider other options, including where applicable the
disbursement of excess funds directly to plaintiffs. For instance, in actions such as this
one brought under the Clayton Act, I am to consider whether an award of treble damages
is warranted.” (citing In re Folding Carton Antitrust Litig., 557 F. Supp. 1091, 1104-07
(N.D. Ill. 1983))).1


//




1
  The California Attorney General’s Supplemental Statement of Interest, p.14, also recognizes the propriety
of distributing up to treble damages to class members in certain instances, noting that the “payment of
trebled damages may be justified in cases such as LCDs . . . .”
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Special Master Martin Quinn
January 11, 2016
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        These cases are attached for the Special Master’s convenience.

                                     Respectfully submitted,

                                     /s/ Mario N. Alioto
                                     Mario N. Alioto

                                     Lead Counsel for the Indirect Purchaser Plaintiffs
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|   | Warning
As of: January 7, 2016 4:04 PM EST


                                Masters v. Wilhelmina Model Agency, Inc.
                                   United States Court of Appeals for the Second Circuit
                                      May 19, 2006, Argued ; January 4, 2007, Decided
                                       Docket Nos. 05-2897-cv(L); 05-5766-cv(CON)

Reporter
473 F.3d 423; 2007 U.S. App. LEXIS 191; 2007-1 Trade Cas. (CCH) P75,542

AMANDA MASTERS, on her own behalf and on behalf of                 Court for the Southern District of New York (Baer, J.)
a class of similarly situated persons, JUSTIN KLENTNER,            approving settlements in a class action brought against
on own behalf and on behalf of a class of similarly situated       defendant modeling agencies for conspiracy to fix
persons, LORELEI SHELLIST, on own behalf and on                    commissions charged to models in violation of the Sherman
behalf of a class of similarly situated persons, BARBARA           Act, awarding attorneys’ fees, and denying reconsideration
CHEESEBOROUGH, on own behalf and on behalf of                      of those orders, and from an order allocating the proceeds of
similarly situated persons, CARLA GROSS, on own behalf             settlement with a bankrupt defendant, the appellants
and on behalf of a class of similarly situated persons, doing      contending on appeal that the District Court erred in (1)
business as Sebastian Cardon, SIMON BEARDMORE,                     ordering the distribution from settlement proceeds in excess
SZUZANNA BOROS, THOMAS BRADLEY, JENNIFER                           of recognized losses to various charities rather than to class
CURRAN, VALARIE GARDANAO, BILL GOINS,                              members as treble damages and prejudgment interest; (2)
ELEANORA MILLER, also known as Elle Miller,
                                                                   allocating funds derived from the estate of a bankrupt
VIRGINIA NELSON, ALICIA PINE, ANNE ROGAN,
                                                                   defendant without additional notice to the class; and (3)
ANGELA SHELTON, SHOEMAKER LAURA, TODD
                                                                   applying the wrong standard in awarding counsel fees, with
SNYDER, HILLARY SWAY and MONICA WALKER,
                                                                   the result that the fee allowance was inadequate.
Plaintiffs, CAROLYN FEARS, DONNA GIBBS, SHARON
                                                                   Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist.
SIMON, CAROL MCILVAINE, also known as Carol Alston
and TIFFANY CONNOR, on their own behalf and on behalf              LEXIS 7961 (S.D.N.Y., May 5, 2005)
of a class of similarly situated persons, Plaintiffs-Appellants,   Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist.
BOIES, SCHILLER & FLEXNER LLP, Appellant, AMY                      LEXIS 10764 (S.D.N.Y., June 6, 2005)
HABERMAN, THOMAS PRESTON and EDMUND
FLORY, Consolidated Plaintiffs, v. WILHELMINA MODEL                Disposition: Affirmed in part, vacated and remanded in
AGENCY, INC., also known as Wilhelmina Artist                      part.
Management LLC, FORD MODELS, INC., formerly known
as Ford Model Agency, ELITE MODEL MANAGEMENT,                      Case Summary
INC., CLICK MODEL MANAGEMENT, INC., NEXT
MANAGEMENT COMPANY, BOSS MODELS, INC.,
GERARD W. FORD, DNA MODEL MANAGEMENT,                              Procedural Posture
LLC, IMG MODELS, INC., ZOLI MANAGEMENT, INC.
and         IMAGES             MANAGEMENT,               INC.,     Appellants, a class of professional models and their counsel,
Defendants-Appellees, THE MFME MANAGEMENT,                         sought review of orders of the United States District Court
LTD., Q MODEL MANAGEMENT, LLC and MODEL                            for the Southern District of New York approving settlements
MANAGEMENT CORPORATION, formerly known as                          and awarding attorneys’ fees in a class suit against appellee
International Model Managers Association, Inc., Defendants.        modeling agencies for an alleged conspiracy to fix
                                                                   commissions. Appellants also sought review of an order
Subsequent History: On remand at, Costs and fees                   denying reconsideration and an order allocating the proceeds
proceeding at, Request granted, in part, Request denied by,        of settlement with a bankrupt agency.
in part Fears v. Wilhelmina Model Agency, Inc., 2007 U.S.
Dist. LEXIS 48151 (S.D.N.Y., July 5, 2007)                         Overview

Prior History: [**1] Plaintiffs-appellants and their counsel       After extensive discovery, the parties settled the suit, which
appeal from orders entered in the United States District           alleged excessive commission charges in violation of the
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                                                                                                                      Page 2 of 12
                                     473 F.3d 423, *423; 2007 U.S. App. LEXIS 191, **1

Sherman Act. The approved settlement contained several              Andrew W. Hayes, Andrew W. Hayes P.C., New York, New
injunctive provisions, provided a pro rata distribution to          York, for plaintiffs-appellants.
class members based on excessive commissions previously
paid, distributed residual or unclaimed funds to named              Anthony J. Bolognese, Bolognese & Associates LLC,
charities under the Cy Pres doctrine, and awarded counsel           Philadelphia, Pennsylvania, for plaintiffs-appellants.
fees based on funds claimed. On appeal, the court vacated in
part. As to the distribution of remaining funds, the court          David Bosman, Boss Models, New York, New York, for
found that the district court had failed to recognize the           defendant-appellee Boss Models, Inc.
extent of its discretion, which included the fact that it was
empowered to allocate funds to class members as treble              Judah S. Shapiro, Law Offices of Judah S. Shapiro, New
damages. The court also found that the district court erred in      York, New York, for defendant-appellee Boss Models, Inc.
calculating attorney’s fees based on the percentage of the
claims made against the fund, rather than on the entire fund,       Merill G. Davidoff, Berger & Montague P.C., Philadelphia,
and by including conduct for which counsel already was              Pennsylvania, for plaintiffs-appellants.
sanctioned when it set the percentage fee. However, the
court rejected appellants’ notice claim, finding that the class     Olav A. Haazen, Boies, Schiller &, Flexner LLP, Armonk,
received adequate notice under Fed. R. Civ. P. 23(e)(B) of a        New York, for plaintiffs-appellants.
bankrupt agency’s settlement through the bankruptcy court
proceedings.                                                         [**3] Richard S. Oelsner, Wilson, Elser, Moskowitz,
                                                                    Edelman & Dicker LLP, White Plains, New York, for
Outcome                                                             defendant-appellee IMG Models, Inc.


The court vacated the district court’s orders insofar as they       Sandor Frankel, (M. Breeze McMennamin, on the brief),
related to the distribution of settlement proceeds and the          Frankel & Abrams, New York, New York, for
award of counsel fees and remanded the case to the district         defendant-appellee Wilhelmina Model Agency, Inc., a/k/a
court for reconsideration of those matters. The court affirmed      Wilhelmina Artist Management LLC.
the district court’s orders in all other respects.
                                                                    Thomas M. Lopez, Katsky LLP, New York, New York, for
Counsel: PAUL R. VERKUIL (Christina M. Lewicky, on                  defendant-appellee DNA Model Management LLC.
the brief), Boies, Schiller & Flexner LLP, New York, New
York, for plaintiffs-appellants and appellant.                      David Blasband, McLaughlin & Stern LLP, New York, New
                                                                    York, for defendant-appellee Zoli Management, Inc.
DAVID ELBAUM (Kenneth R. Logan, on the brief), [**2]
Simpson, Thacher & Bartlett LLP, New York, New York, for            Judges: Before: MINER, POOLER, Circuit Judges, and
defendants-appellees Ford Models, Inc. and Gerard W.                RAKOFF, Judge. *
Ford.
                                                                    Opinion by: MINER
PHILIP BENTLEY (Jack Hazan, on the brief), Kramer,
Levin, Naftalis & Frankel LLP, New York, New York, for              Opinion
defendant-appellee EMMC, Inc., f/k/a Elite Model
Management Corporation.                                              [*425] MINER, Circuit Judge:

JEROME GOTKIN, Mintz, Levin, Cohen, Ferris, Glovsky                 Plaintiffs-appellants, members of a class of present and
& Popeo P.C., New York, New York, for defendant-appellee            former professional models, and their counsel appeal from
Next Management, LLC, f/k/a Next Management Company.                two orders entered in the United States District Court for the
                                                                    Southern District of New York (Baer, J.) approving
Aaron Richard Golub, Law Office of Aaron Richard Golub,             settlements and awarding attorneys’ fees in a class action
New York, New York, for defendant-appellee Click Model              brought against defendant modeling agencies for conspiracy
Management, Inc.                                                    to fix commissions charged to members of plaintiff class, in

*
    The Honorable Jed S. Rakoff, United States District Judge for the Southern District of New York, sitting by designation.
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                                                                                                                      Page 3 of 12
                                     473 F.3d 423, *425; 2007 U.S. App. LEXIS 191, **3

violation [**4] of the Sherman Act. Also before us are              Complaint. On November 15, 2002, the District Court
appeals from an order denying reconsideration of those              determined that it would address class certification before
orders and an order allocating the proceeds of settlement           permitting discovery on the merits. The District Court
with a bankrupt defendant. The appellants contend that the          referred discovery matters relating to class certification to
District Court erred in (1) ordering the distribution of            Magistrate Judge Henry B. Pitman.
settlement proceeds in excess of recognized losses to
various charities rather than to the class members as treble        Responding to various motions to dismiss the complaint, the
damages and prejudgment interest; (2) allocating the funds          District Court, by opinion and order dated January 16, 2003,
derived from the estate of a bankrupt defendant without             declined to exercise jurisdiction over the state law claims,
additional notice to the class; and (3) applying the wrong          denied the motion to dismiss as to the claims of price-fixing
standard in awarding counsel fees, with the result that the         under the Sherman Act within the period allowed by the
fee allowance to counsel for plaintiffs-appellants is               four-year statute of limitation, and gave leave to re-plead the
inadequate.                                                         tolling of claims arising prior to June 25, 1998. Masters v.
                                                                    Wilhelmina Model Agency, Inc., No. 02 Civ. 4911, 2003 U.S.
 [*426] For the reasons that follow, we vacate the orders           Dist. LEXIS 698, 2003 WL 145556 (S.D.N.Y. Jan. 17, 2003).
appealed from insofar as they relate to the distribution of         In a later order, [**7] the District Court dismissed claims
settlement proceeds and the award of counsel fees and               accruing prior to June 25, 1998 as barred by the statute of
remand the case to the District Court for reconsideration of        limitations. Masters v. Wilhelmina Model Agency, Inc., No.
those matters; and we affirm the orders in all other respects.      02 Civ. 4911, 2003 U.S. Dist. LEXIS 7143, 2003 WL
                                                                    1990262 (S.D.N.Y. Apr. 29, 2003).
BACKGROUND
                                                                    A Second Consolidated Amended Complaint was filed on
A. Litigation and Settlement                                        February 5, 2003 and a third on April 30, 2003. The District
                                                                    Court granted the motion for class certification on July 15,
In 2001 plaintiffs’ counsel 1 began to investigate various          2003, certifying a plaintiff class consisting of current and
business practices in the modeling agency industry. Through         former models who had oral or written contracts with any of
this investigation, plaintiffs’ counsel purportedly [**5]           the defendants from June 1998 onward. Fears v. Wilhelmina
developed evidence that the leading New York modeling               Model Agency, Inc., No. 02 Civ. 4911, 2003 U.S. Dist.
agencies, acting in concert since the mid-1970s, (1) falsely        LEXIS 11897, 2003 WL 21659373 (S.D.N.Y. July 15, 2003).
claimed exemption from the 10% commission rate cap                  Appellant, Boies, Schiller & Flexner LLP (″Appellant″ or
imposed on ″employment agencies″ under Article 11 of the            ″Boies Schiller″), was approved as lead class counsel. 2003
New York General Business Law by asserting that they were           U.S. Dist. LEXIS 11897, [WL] at *7. Thereafter,
″managers″ and only incidentally involved in procuring              defendant-appellee Next petitioned this Court for
employment for their models, and (2) raised the ″standard           interlocutory review of the [*427] District Court’s July 15
rate″ of model commissions from 10% to 20%, where it has            Class Certification Order. The petition was denied on
stayed since the late 1980s. No government agency                   December 31, 2003.
participated in the investigation or the ensuing litigation.
The plaintiffs filed their first complaint alleging violation of    The District Court then permitted discovery on the merits to
Section 1 of the Sherman Act, New York General Business             proceed, again with Magistrate Judge Pitman supervising
Law Article 11, and New York common law on June 25,                 the process. The discovery process was a long and difficult
2002. The plaintiffs alleged that the defendants conspired to       one, marked by delay and [**8] resistance. During the
uniformly charge models a commission of 20% [**6] -                 process, Magistrate Judge Pitman admonished both sides
exceeding the 10% maximum allowed by New York law for               and twice sanctioned plaintiffs’ attorneys for their discovery
employment agencies - and that the defendants used their            practices. In the course of discovery, the plaintiffs identified,
trade association, Model Management Corporation (f/k/a              obtained, inspected and analyzed more than 32,000 pages of
″International Model Managers Association″), to advance             documents produced by the defendants and nonparties.
their collusive scheme. This action eventually was                  There were 25 formal conferences, as well as several
consolidated with four similar actions. On September 24,            informal conferences, before Magistrate Judge Pitman during
2002, the plaintiffs filed their First Consolidated Amended         merits discovery. These conferences were required in order

1
   Plaintiffs’ counsel consists of several attorneys and firms. For ease of reference, this Opinion will refer only to the collective
″plaintiffs’ attorneys″ or ″class attorneys.″
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to resolve disputes relating to interrogatories, document        the disposition of unclaimed or unpaid funds (the ″Excess
production, and depositions. Toward the end of the discovery     Funds″) that might remain after payment to the class
process, Magistrate Judge Pitman imposed a $ 25,000              members of their actual losses. Appellants accused defendant
sanction against plaintiffs’ attorneys and ordered them to       Next of a last-minute repudiation of [*428] the settlement
exclude certain of their time from their fee petition as a       for failure to provide for the reversion of Excess Funds.
further sanction.                                                Next denies that its repudiation was ″last minute,″ contending
                                                                 that its counsel had notified all other counsel in the case
At the conclusion of merits discovery, motions by defendants     three months before the Settlement Agreement was signed
for summary judgment were filed and the submissions were         that his client was not ″on board″ [**11] with regard to the
voluminous. On March 22, 2004, the District Court denied         proposed disposition of Excess Funds.
summary judgment as to all but defendant Q Model
Management on plaintiffs’ price-fixing claims. Fears v.          In any event, the Final Settlement Agreement (the
Wilhelmina Model Agency, Inc., No. 02 Civ. 4911, 2004 U.S.       ″Agreement″) was signed on October 12, 2004 with (i) Boss
Dist. LEXIS 4502, 2004 WL 594396 (S.D.N.Y. Mar. 23,              Models, Inc.; (ii) Click Model Management, Inc.; (iii) DNA
2004). The Court determined [**9]           that Q Model         Model Management, LLC; (iv) Ford Models, Inc.; (v)
Management was founded long after the formation of the           Gerard W. Ford; (vi) Images Management; (vii) IMG
alleged conspiracy and never held membership in the trade        Models, Inc.; (viii) IMG Worldwide, Inc.; (ix) Next
association. With regard to the other defendants, the District   Management Co.; and (x) Wilhelmina International, Ltd.;
Court determined that plaintiffs’ evidence would support a       and (xi) Zoli Management, Inc. The Agreement created a
jury finding that the modeling agency business was an            settlement fund in excess of $ 21,855,000, which was to be
industry ″inundated with collusion.″ 2004 U.S. Dist. LEXIS       distributed pro rata to class members based on the amount
4502, [WL] at *13.                                               of commissions paid by each member in excess of 10%,
                                                                 plus interest.
Settlement negotiations began with certain defendants only
after the court denied defendants’ motions for summary           As to distribution of the settlement fund, paragraph D. 2 of
judgment and were heavily influenced by the real prospect        the Agreement specifically provided:
of the defendants’ bankruptcy. From late March 2004 until
the scheduled trial date of June 1, 2004, the plaintiffs             (b) Every Authorized Claimant shall be paid from the
reached preliminary settlements with all defendants except           Net Settlement Fund a portion of his or her ″Total
for Click. These preliminary settlements took the form of            Recognized Loss,″ which shall be calculated as follows:
letter agreements (the ″Letter Agreements″) signed in or
about May of 2004 by the attorneys for each of the settling               (1) An Authorized Claimant’s ″Recognized Loss″
defendants and the class attorneys. The Letter Agreements                 for any transaction on which he or she paid a
outlined the settlement terms, including the amount of each               commission to a defendant during the Relevant
defendant’s contribution and the manner of payment. Each                  Period shall be the difference, if any, between (A)
of these agreements included the following provision:                     the commission that the Authorized Claimant paid
                                                                          to the [**12] defendant and (B) ten percent of the
    11. This is a binding agreement. Any future                           amount of the transaction. There shall be no
    disagreement(s) as to the form or content [**10] of the               Recognized Loss for any transaction on which the
    formal settlement agreement and final judgment, and/or                Authorized Claimant paid no commission, or for
    any other ancillary papers, will be resolved by the                   any transaction on which the Authorized Claimant
    Honorable Harold Baer, Jr., without right of appeal.                  paid a commission of ten percent or less.

                                                                          (2) An Authorized Claimant’s ″Total Recognized
Jury selection for the trial against Click commenced on June
                                                                          Loss″ shall be the sum of all of his or her
1, 2004, and opening statements were delivered on June 3,
                                                                          Recognized Losses.
2004. The plaintiffs presented lay witnesses during the first
day of trial, including two of the class representatives,                 (3) If the sum of the Total Recognized Losses of all
Carolyn Fears and Tiffany Connor. On June 3, 2004, the                    Authorized Claimants who submit valid and timely
plaintiffs reached a settlement with Click, and the jury was              proof of claim forms is equal to or greater than the
dismissed. The parties thereafter proceeded to negotiate a                amount of the Net Settlement Fund, then the net
formal Settlement Agreement to be presented to the District               settlement fund shall be distributed to all authorized
Court for approval. A sticking point in the negotiations was              claimants on a pro rata basis. . . .
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                                   473 F.3d 423, *428; 2007 U.S. App. LEXIS 191, **12

         (4) If the sum of the Total Recognized Losses of all     commencement of the litigation. Such provisions included
         Authorized Claimants who submit valid and timely         disclosure by Settling Defendants of all bookings and
         proof of claim forms is less than the amount of the      compensation received for each model, utilization of
         Net Settlement Fund, then the Court shall, in its        contracts with models specifying relevant compensation
         discretion, determine the disposition of the amount      terms and practices and management services, and a
         representing the difference between the two figures,     prohibition against joining any model agencies’ or managers’
         after hearing the views of the parties hereto as to      trade associations in the United States.
         such disposition.
                                                                  B. Approval of the Settlement
As to awards to counsel and certain representative plaintiffs,
the agreement provided:                                           A motion for preliminary approval of the settlement proposed
                                                                  in the [**15] Agreement and for authorization to disseminate
    E.1 Plaintiffs’ Settlement Counsel [**13] may submit          notice and claims forms was granted by the District Court
    an application or applications (the ″Fee and Expense          by Order dated October 12, 2004. By that Order, the District
    Application″) for distributions from the Settlement           Court found ″that the proposed settlements with the Settling
    Fund for: (a) an award of attorneys’ fees; plus (b)           Defendants set forth in the Settlement Agreement, subject to
    reimbursement of expenses incurred in connection with         final determination following a hearing after notice to the
    prosecuting the Action; (c) plus any interest on such         Class, is sufficiently fair, reasonable and adequate to
    attorneys’ fees and expenses at the same rate and for the     authorize dissemination of the notice.″ The Order specified
    same periods as earned by the Settlement Fund (until          the form and manner of service of the notice and cut-off
    paid) as may be awarded by the Court; and (d) for             dates for filing objections to the Settlement, exclusion from
    incentive awards and reimbursement of expenses to             the Class, and papers in support of the Settlement. It fixed
    certain Representative Plaintiffs in prosecuting the          December 20, 2004 for a hearing to determine whether the
    Action. Plaintiffs’ Settlement [*429] Counsel reserve         Settlement should be approved and whether the motion of
    the right to make additional applications for fees and        plaintiffs’ counsel for an award of attorneys’ fees and
    expenses incurred. However, fees or expenses of               expenses and for payments to certain representative plaintiffs
    Plaintiffs’ Counsel may be paid from the Settlement           should be granted.
    Fund only after the Final Settlement Date occurs for a
    Settling Defendant from whose settlement payments             By affidavit dated December 9, 2004, the Claims
    such fees or expenses will be paid.                           Administrator appointed by the Court reported that 16,512
                                                                  notices had been mailed to potential class members by
    E.2 The portion of the Fee and Expense Award                  first-class mail and that a summary notice of the proposed
    attributable to any Settling Defendant shall be paid to       settlement had been published in USA Today on October 25,
    Plaintiffs’ Settlement Counsel from the Settlement            2004. The notice advised [**16] that the deadline for filing
    Fund, as ordered, after the Final Settlement Date for         proofs of claim had been fixed at January 6, 2005. By
    such Settling Defendant, and after the Court executes a       Opinion and Order dated May 5, 2005, the District Court
    written order awarding such fees and expenses,                granted in part and denied in part the motion originally filed
    notwithstanding [**14] the existence of any timely filed      by plaintiffs on December 13, 2004 for approval of the final
    objections thereto, or potential appeal therefrom, subject    proposed settlement, including incentive awards and
    to the joint and several obligation of Plaintiffs’            distributions to claimants, attorneys’ fees and expenses and
    Settlement Counsel to make appropriate refund                 distribution of residual funds. Fears v. Wilhelmina Model
    repayments to the Settlement Fund as more particularly        Agency, Inc., No. 02 Civ. 4911, 2005 U.S. Dist. LEXIS 7961,
    set forth below in [paragraph] E. 3. Plaintiffs’ Settlement   2005 WL 1041134 (S.D.N.Y. May 5, 2005).
    Counsel shall thereafter allocate the attorneys’ fees
    amongst Plaintiffs’ Counsel in a manner in which               [*430] C. Opinion and Order Approving Settlement and
    Plaintiffs’ Settlement Counsel in good faith believe          Directing Distribution
    reflects the contributions of such counsel to the
    prosecution and settlement of the Action.                     With respect to the terms of settlement, the Court reviewed
                                                                  the provisions of the Settlement Agreement providing for
The Agreement also provided for a number of injunctive            the creation of a $ 21,855,000 Settlement Fund and injunctive
provisions that were designed to address and end certain          and equitable relief. The Court observed that ″[t]he
practices which disadvantaged models prior to the                 non-monetary portion of the Agreement may prove more
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                                    473 F.3d 423, *430; 2007 U.S. App. LEXIS 191, **16

valuable to the models than the monetary settlement and            Fund of $ 21,855,000 would be increased by the bankruptcy
should not be overlooked in any analysis of the success of         settlement, which provided that the settlement proceeds be
this lawsuit.″ 2005 U.S. Dist. LEXIS 7961, [WL] at *1. In          held in escrow pending the entry of an ″allocation order″ by
approving the settlement as reasonable, the Court found as         the District Court. Id. The Bankruptcy Court Order approved
follows:                                                             [**19]     the proposed settlement with Elite as ″fair,
                                                                   reasonable and in the best interest of the Debtor’s estate and
    This case involves an alleged price-fixing scheme in the       creditors.″ Id. That Order included the following provision:
    modeling industry by some of the [**17] industr[y’s]
    most powerful agencies. The issues were thoroughly                 To the extent the Allocation Order directs that all or a
    investigated and aggressively litigated. Plaintiffs’               portion of the Model Distribution be distributed (a) to
    success was never assured and, if the case had continued,          charity or (b) to holders of any Class 4 Claim other than
    plaintiffs would have had to prove a complex conspiracy            claim No. 50 filed on behalf of the class of plaintiffs in
    to artificially fix the commission structure in the                the Fears Action (the ″Individual Model Claims″), that
    modeling industry. See, e.g., In re Visa Check/Master-             portion of the Model Distribution (the ″Excess
    money Antitrust Litig., 297 F. Supp. 2d 503, 511                   Distribution″) shall be redistributed to the Plan
    (E.D.N.Y. 2003) (″The complexity of federal antitrust              Administrator for [*431] a pro rata distribution to the
    law is well known″). Settlement negotiations were                  holders of Individual Model Claims to the extent they
    conducted over months, at arm’s length, and between                are Allowed Class 4 Claims in the Bankruptcy Case. .
    experienced and skilled attorneys with frequent pretrial           . . Upon payment in full of all Allowed Individual
    conferences and motion practice.                                   Model Claims, any remaining Excess Distribution shall
                                                                       be distributed on a pro rata basis to
    Based on all these findings, the Agreement is reasonable.
                                                                   certain other creditors and in accordance with the distribution
2005 U.S. Dist. LEXIS 7961, [WL] at *3.                            priorities set forth in the Plan approved by the Bankruptcy
                                                                   Court.
Included in the settlement approval were incentive awards
in the sum of $ 25,000 for each of the two named plaintiffs        Accordingly, the District Court concluded that while it was
who were deposed and $ 15,000 for each of the two trial            required to allocate the proceeds of the Elite settlement
witnesses and eight class representatives. Id. The Court           among the plaintiffs in this action, ″review of the substantive
noted that incentive awards were related to the individual’s       fairness [**20] of the settlement between plaintiffs and
personal risk and additional efforts to benefit the lawsuit. Id.   [Elite] is unnecessary″ in view of the Bankruptcy Court
The District Court conditioned its overall settlement approval     Settlement Order. Fears, 2005 U.S. Dist. LEXIS 7961, 2005
upon the maintenance of a database [**18] by the Claims            WL 1041134, at *1 n. 3. The District Court observed that it
Administrator. 2005 U.S. Dist. LEXIS 7961, [WL] at *2.             was empowered by the Elite Reorganization Plan to ″approve
The Court noted that the Claims Administrator had incurred         and direct the allocation of the proceeds″ of that Settlement
$ 25,000 in expenses to the date of the Opinion and Order          in this action, designated the Fears action. Id.
and had ″estimated an additional $ 50,000 to $ 75,000 in
reimbursable fees and expenses related to the distribution of      Turning to the question of attorneys’ fees, the District Court
funds, tracking the issuance and deposits of checks to class       recognized the claim of plaintiffs’ counsel to a fee award of
members, and preparation of interim and final reports.″            33.33% of the fund of $ 21,855,000 ($ 7,285,000) plus
2005 U.S. Dist. LEXIS 7961, [WL] at *3.                            unreimbursed expenses ($ 1,590,164.65) for a total of $
                                                                   8,875,164.65. 2005 U.S. Dist. LEXIS 7961, [WL] at *9. The
In its decision, the District Court noted that defendant Elite     District Court also recognized that the lodestar calculation
had filed a Chapter 11 Petition in the Bankruptcy Court for        (number of hours reasonably expended times reasonable
the Southern District of New York on February 11, 2004;            hourly rate), involving approximately 28,000 professional
that pursuant to the Bankruptcy Organization Plan, the             hours, plus the expenses claimed, totaled $ 10,702,324.65.
model representative would be deemed to have an unsecured          2005 U.S. Dist. LEXIS 7961, [WL] at *6, *9. The Court
claim of $ 2,575,000; and that, based upon an estimated            observed that the percentage fee award plus expenses
distribution, it was anticipated that the model representative     requested was 40% of the total fund and that the lodestar
would receive a cash distribution on the allowed model             amount alone was substantially more than the amount of the
claims of between $ 847,000 and $ 1,673,750.2005 U.S.              claims filed to the date of the District Court’s opinion - $
Dist. LEXIS 7961, [WL] at *1 n. 3. The total Settlement            9,338,958.29. 2005 U.S. Dist. LEXIS 7961, [WL] at *9.
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Evaluating the factors to [**21] be considered in fixing a        Settlement Fund], including [a separate] mediated settlement
reasonable common-fund fee, the District Court first              [in another action against IMG Models, among other
addressed the time and labor expended by counsel.                 defendants].″ 2005 U.S. Dist. LEXIS 7961, [WL] at *16. ″If
                                                                  translated into a percentage of the entire Fund this would
In determining a reasonable attorneys’ fee, the District          equal 17.2%, or $ 3,759,583.16.″ Id. The court determined
Court considered several factors, including (1) the time and      that all claimed expenses would be allowed, bringing the
labor expended by counsel; (2) the magnitude of the               fees and expenses total to $ 5,349,747.81. Id. It also found
litigation; (3) the risk of litigation; and (4) the quality of    that the estimated cost of Fund administration - $ 75,000-$
representation. In examining the time and labor factor, the       100,000 - was ″within acceptable limits″ and noted that the
District Court reviewed the hours spent and rates charged by      Fund might be increased by any contribution to be made by
each of the law firms representing the plaintiffs in computing    Elite. 2005 U.S. Dist. LEXIS 7961, [WL] at *16 & n. 17.
their lodestar claims. Because, as will be seen, the District
Court ultimately resolved the fee issue by awarding fees on       In deciding to award fees on the basis of funds claimed
the basis of a percentage of ″claims made,″ the District          rather than on the basis of the Settlement Fund created, the
Court determined that ″the lodestar calculation is primarily      District Court recognized a split in authority, with the
for crosscheck purposes.″ 2005 U.S. Dist. LEXIS 7961,             Supreme Court yet to weigh in on the issue. In declining to
[WL] at *6.                                                       award fees on the basis of the total Fund available, the court
                                                                  noted that ″court authorization of what can be analogized as
As to the magnitude of the litigation, the District Court took    a windfall to the attorneys would violate . . . the Second
note of plaintiffs’ allegations that they were confronted with     [**24] Circuit’s clear intention to avoid such awards.″
the need to establish a wide-ranging price-fixing conspiracy      2005 U.S. Dist. LEXIS 7961, [WL] at *4. The District Court
that existed over a period of thirty years and involved as        also found support for its position in the Private Securities
defendants ″some of the most venerable names in the               Litigation Reform Act of 1995, Pub. L. No. 104-67, 109
modeling industry.″ 2005 U.S. Dist. LEXIS 7961, [WL] at           Stat. 737 (Dec. 22, 1995) (″PSLRA″) and in the Class
*7. As to the risk of litigation factor, [**22] the District      Action Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4
Court referred to the numerous motions to dismiss and for         (Feb. 18, 2005) (″CAFA″). See id. (examining Congressional
summary judgment, the extensive discovery conducted, the          intent).
contingent nature of the litigation, and the advancement of
tens of thousands of dollars in disbursements by Class            Turning to the question of distribution of the residual or
Counsel. See id. The District Court thereupon concluded           unclaimed funds, the District Court noted that the Settlement
that ″the manner in which this case unfolded demonstrates         Agreement conferred discretion upon the Court with regard
the significant possibility that Class Counsel could have         to the disposition of such funds ″after hearing the views of
failed to achieve any recovery at all and, consequently, no       the parties hereto as to such disposition.″ 2005 U.S. Dist.
compensation.″ 2005 U.S. Dist. LEXIS 7961, [WL] at *8.            LEXIS 7961, [WL] at *10. According to the Court,

Finally, the District Court found that the quality of                   [m]ost Defendants . . . voiced concerns about the
representation by Class Counsel in this case ″appears to be             models being awarded any more than the amount of
satisfactory.″ Id. The court further remarked that ″in having           money arrived at by the agreed upon formula for their
brought this lawsuit, the [*432] plaintiffs’ lawyers performed          claim and some sought to have money returned to their
a valuable public service for which they are to be                      clients, they then went on to suggest preferred charitable
commended.″ Id. The court, however, ″tempered″ this                     contributions.
praise by referring to the conduct of the plaintiffs’ counsel
during the discovery process and by imposing sanctions as         Id.
a result of that conduct. Id. The court opined that ″attorneys’
conduct throughout the litigation must be factored into the       The Court determined to distribute the Excess Funds under
quality of representation analysis″ and, accordingly, ″reduced    the Cy Pres Doctrine. 2005 U.S. Dist. LEXIS 7961, [WL] at
the sought-for-fee award to include [**23] and emphasize          *10-*11. The Court met with representatives of various
[its] concern on this score.″ 2005 U.S. Dist. LEXIS 7961,         organizations designated [**25] by the parties and others to
[WL] at *9.                                                       identify charities that would directly or indirectly benefit
                                                                  members of the class with the least administrative costs. The
The District Court ultimately ″conclude[d] that a fair and        District Court chose the following organizations to receive
appropriate fee is 40% of the [claims made against the            the residual funds and provided a brief description of their
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purposes and goals and the manner of allocation of the              noted that residual funds were to ″be distributed to a variety
funds to be distributed: Beth Israel Medical Center’s               of charitable organizations″ and provided that ″the
Continuum Women’s Cardiac Care Network; Columbia                    ’Settlement Escrow Account’ (Elite’s contribution to the
Presbyterian Medical Center’s Eating Disorders Program;             Fears Settlement) shall be released to the [Elite] Plan
Columbia Presbyterian Medical Center’s Division on                  Administrator and the Elite New York Settlement proceeds
Substance Abuse; Columbia Presbyterian Medical Center’s             shall be available for distribution″ according to the
Ovarian Cancer Repository; New York University Medical              Bankruptcy Court Order.
Center; Civil Division of the Legal Aid Society; and The
Heart Truth. See 2005 U.S. Dist. LEXIS 7961, [WL] at                Subsequent Court Orders authorized the Claims
*11-*16.                                                            Administrator to begin mailing distributions to class
                                                                    members in accordance with their claims. The various
[*433] D. Proceedings Following the Opinion and Order               charities designated as recipients of the Excess Funds have
                                                                    been advised that distribution to them must await this
On May 19, 2005, plaintiffs moved for reconsideration of            appeal. We have been advised of a motion pending in the
the Opinion and Order approving the Settlement and                  District Court to allow the filing of sixty-six claims received
directing distribution. ″Overlooking the motion’s procedural        from December 1, 2005 (the outside date for [**28] filing
deficiencies in the interest of deciding matters on the             fixed by the District Court) through June 27, 2006. Before
merits,″ Fears v. Wilhelmina Model Agency, Inc., No. 02             this Court are pending motions by plaintiffs to supplement
Civ. 4911, 2005 U.S. Dist. LEXIS 10764, 2005 WL 1325297,            the record with five letters sent to the District Court from
at *2 (S.D.N.Y. Jun. 6, 2005), the Court rejected the               counsel for plaintiffs, a renewed motion for the same relief,
contentions of [**26] error in the Court’s decision to award        and a motion by defendant Next to strike a portion of the
single, rather than treble, damages and in its failure to award     appellants’ reply brief.
prejudgment interest. See 2005 U.S. Dist. LEXIS 10764 ,
[WL] at *3. The Court reasoned that the unambiguous terms           ANALYSIS
of the Settlement Agreement made no provision for the
distributions sought and that it was bound under the                I. Of the Notice of Appeal and the Issues Presented.
circumstances to approve or disapprove the Settlement
negotiated by the parties. See id. Reviewing its decision to        The Notice of Appeal filed in the District Court on October
award counsel fees equivalent to 17.2% of the entire Fund,          25, 2005 refers to an earlier Notice of Appeal filed on June
the Court determined that it had overlooked no decisions            3, 2005 and addressed to the May 5, 2005 Order approving
that might have directed a different outcome. See id.               the settlement. It recites that the briefing schedule relating to
                                                                    the earlier appeal was stayed to ensure the finality of district
In reaffirming the decision to distribute Excess Funds under        court proceedings. It [*434] further states: ″The District
the Cy Pres Doctrine, the Court noted that the Settlement           Court entered Final Judgment Orders dismissing plaintiffs’
Agreement included a specific provision allowing for the            claims against the two remaining defendants [Elite Model
Court to distribute such funds in the exercise of its discretion.   Management, Inc. and Model Management Corporation] on
The District Court also noted that ″[p]laintiffs’ counsel gave      September 29, 2005. Therefore, Final Judgments have been
at least tacit approval to the distribution scheme by proposing     entered on all claims against all defendants in the underlying
charitable organizations of his own.″ 2005 U.S. Dist. LEXIS         action.″ Included in the Notice of Appeal is a reservation of
10764 , [WL] at *4. The Court denied the motion for                 the right to move for supplemental attorneys’ fees and
reconsideration in all respects, except that it granted the         expenses. It appears [**29] that the Notice of Appeal of
motion to the extent of clarifying the incentive awards to          October 25, 2005 was timely filed, and no challenge has
class representatives. [**27] See 2005 U.S. Dist. LEXIS             been raised as to its timeliness.
10764 , [WL] at *5.
                                                                    In the Notice of Appeal, plaintiffs and their counsel
Final Judgment Orders were entered on May 6, 2005 as to             challenge:
defendants Click Model Management, Boss Models, DNA
Model Management, Ford Models, Gerard Ford, Images                      (1) the District Court’s Opinion and Order dated May 5,
Management, and IMG Models; and on May 9, 2005 as to                    2005, [insofar] as that Order (a) denied plaintiffs’
Next Management, Zoli Management and Wilhelmina                         request for payment of up to treble damages and
International. On July 12, 2005, a Settlement Allocation                prejudgment interest to class members, (b) denied in
Order was entered as to defendant Elite Management. It                  part plaintiffs’ motion for attorneys’ fees, (c)
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    prematurely determined that there were ″unclaimed″              Court [*435] as the final authority for the resolution of any
    funds and allocated those funds to charities;                   disagreement as to the distribution of the Excess Funds,
                                                                    since they provide that ″[a]ny future disagreements as to the
    (2) the District Court’s Opinion and Order dated June 6,
                                                                    form or content of the formal settlement agreement . . . will
    2005 denying plaintiffs’ motion for reconsideration of
                                                                    be resolved by the [district court] without right of appeal.″
    the May 5 Order; and
                                                                    Assuming that the Letter Agreements are binding at this
    (3) the District Court’s Elite Model Management                 point, the defendants’ contention is based on a misreading
    Settlement Allocation Order dated July 12, 2005,                of the Agreements. The parties that signed the Letter
    denying plaintiffs’ request for entry of an allocation          Agreements (and not all of them did) do not disagree as to
    order regarding funds to be received from the bankrupt          the form or content, both of which are plain. The District
    estate of EMMC, Inc., formerly known as (and sued               Court, after hearing the views of [**32] the parties, is vested
    here as) Elite Model Management, Inc.                           with discretion as to the disposition of the Excess Funds.
                                                                    Defendants argue that the District Court acted reasonably in
II. Of the Distribution of Remaining Funds.                         applying the Cy Pres Doctrine and that plaintiffs were
                                                                    among those who recommended specific charitable
The Settlement Agreement approved by the District Court             organizations. They find support for their position in the fact
clearly contemplated the need to provide for the distribution       that the Settlement Agreement makes no provision for treble
of any Excess Funds that might [**30] remain after all class        damages and that one of the counsel for plaintiffs said that
members were fully compensated for their actual losses. If          ″[t]reble damages are only achieved if you go through, you
those losses, designated as ″Total Recognized Losses,″ were         win your trial, you win your appeal everything becomes
less than the amount of the ″Net Settlement Fund,″ the              final and you actually collect the money.″ They contend that
Agreement provided for the Court to ″determine the                  the Settlement Agreement refers only to actual losses.
disposition of the amount representing the differences
                                                                    While it is true that the Settlement Agreement reposes
between the two figures, after hearing the views of the
                                                                    discretion in the District Judge as to the disposition of
parties hereto as to such disposition.″ Of course, it was not
                                                                    Excess Funds, that discretion is not absolute. Where we find
certain at the time the Agreement was entered into whether
                                                                    an abuse of discretion in our review of the allocation of
there would be Excess Funds, and the Agreement accordingly
                                                                    funds derived from class settlements, the scheme adopted by
provided that if Total Recognized Losses exceeded the Net
                                                                    the District Court will not be upheld. In re Agent Orange
Settlement Fund, the class members would receive
                                                                    Prod. Liab. Litig. VI, 818 F.2d 179, 181 (2d Cir. 1987). We
distribution on a pro rata basis.
                                                                    have concluded that a district court abuses its discretion
In support of their contention that the Excess Funds should         when ″(1) its decision rests on an error of law (such [**33]
be applied toward treble damages rather than allocated to           as application of the wrong legal principles) or a clearly
charities under the Cy Pres Doctrine, plaintiffs bring to our       erroneous factual finding, or (2) its decision - though not
attention the Supreme Court’s observation that ″the antitrust       necessarily the product of a legal error or a clearly erroneous
private action was created primarily as a remedy for the            factual finding - cannot be located within the range of
victims of antitrust violations. Treble damages ’make the           permissible decisions.″ Zervos v. Verizon New York, Inc.,
remedy meaningful by counter-balancing the difficulty of            252 F.3d 163, 169 (2d Cir. 2001). In its original Opinion
maintaining a private suit’ under the antitrust laws.″ Am.          approving settlement, the District Court considered only the
Soc’y of Mech. Eng’rs, Inc. v. Hydrolevel Corp., 456 U.S.           following dispositions: (i) the return of excess settlement
556, 575, 102 S. Ct. 1935, 72 L. Ed. 2d 330 (1982) [**31]           funds to the defendants on a pro rata basis; or (ii) in the
(quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429            exercise of its equitable powers, distribution of the funds to
U.S. 477, 485-86, 97 S. Ct. 690, 50 L. Ed. 2d 701 & n. 10           charitable organizations. The court stated: ″Having adopted
(1977)) (citations and internal quotation marks omitted). We        the charitable route for these funds, it is my view that
have noted that ″[f]ull restitution of plaintiffs’ losses is a no   wherever possible, the cy pres doctrine should be invoked.″
less central objective of the treble damage provision than          Fears, 2005 U.S. Dist. LEXIS 7961, 2005 WL 1041134, at
the encouragement of private antitrust enforcement.″ Hy-            *11. The court then went on, in accordance with the Cy Pres
drolevel Corp. v. Am. Soc’y of Mech. Eng’rs, Inc., 635 F.2d         Doctrine, to allocate the funds to those charities thought to
118, 127 (2d Cir. 1980).                                            benefit the class, either directly or indirectly. 2005 U.S. Dist.
                                                                    LEXIS 7961, [WL] at *12.
The defendants contend that the Letter Agreements that              We are not yet prepared to say that the District Court abused
preceded the Settlement Agreement established the District          its discretion in allocating the Excess Funds under the Cy
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Pres Doctrine. It does appear, however, that the District         Draft § 3.08, entitled ″Cy Pres Settlements.″ This proposed
 [**34] Court was not aware of the extent of its discretion,      rule is consonant with the observation of our sister circuit
failing to recognize that it was empowered to allocate funds      that ″[f]ederal courts have frequently approved [the Cy
to the members of the class as treble damages. The District       Pres] remedy in the settlement of class actions where the
Court ultimately held that the terms of the Settlement            proof of individual claims would be burdensome or
Agreement barred it from even considering such an                 distribution of damages costly.″ Six Mexican Workers v.
alternative. Responding to the motion for reconsideration,        Arizona Citrus Growers, 904 F.2d 1301, 1305 (9th Cir.
the court stated:                                                 1990). In the case before us, neither side contends that a Cy
                                                                  Pres distribution is appropriate because it would be onerous
    Here, the Settlement Agreement lacks any mention of           or impossible to locate class members or because each class
    either treble damages or pre-judgment interest. The           member’s recovery would be so small as to make an
    thirty-page agreement is noticeably silent as to damages,     individual distribution economically impracticable. We are
    treble or otherwise. As such, the Court did not insert        confident that the district court, fully aware of the breadth of
    treble damages or prejudgment interest into the four          its discretion, will see to an appropriate distribution of the
    corners of the Settlement Agreement, and it would have        funds remaining after the models have been compensated
    been wrong to do so.                                          for their actual losses.

Fears, 2005 U.S. Dist. LEXIS 10764 , 2005 WL 1325297, at          III. Of Counsel Fees.
*3.
                                                                  The District Court properly utilized the ″percentage of the
While it is true that the Clayton Act does not allow for          fund″ method in calculating counsel fees, applying the
prejudgment interest in [*436] the absence of a finding of        lodestar [**37] method ″as a ’cross check’ on the
bad faith on the part of defendants causing a material delay      reasonableness of the requested percentage.″ Goldberger v.
in the adjudication of the dispute, 15 U.S.C. § 15(a), a          Integrated Res., Inc., 209 F.3d 43, 49-50 (2d Cir. 2000). Of
finding not made here, a treble damages award did lie within      course, courts may continue to use the lodestar approach
the ambit of the District Court’s discretion and should be        alone in calculating attorneys fees in common fund cases.
considered on remand. See, e.g., In re Folding Carton             See Wal-Mart Stores, Inc. v. Visa, USA, Inc., 396 F.3d 96,
Antitrust Litig., 557 F. Supp. 1091, 1104-07 (N.D.Ill. 1983)      121 (2d Cir. 2005). Whatever method is used, the
  [**35] (recognizing the district court’s discretion to          reasonableness of a common fund fee award is governed by
consider whether excess funds in antitrust class action           the so-called Goldberger factors: (1) counsel’s time and
settlement could be awarded equitably as treble damages           labor; (2) the litigation’s complexities and magnitude; (3)
after claimants were paid in full), aff’d in part, vacated in     the litigation risks; (4) quality of representation; (5) the
part on other grounds, 744 F.2d 1252 (7th Cir. 1984).             relationship of the requested fee to the settlement; and (6)
                                                                  considerations of public policy. Id. at 121. We recognize
In exercising its discretion, the District Court should bear in
                                                                  that ″courts have traditionally awarded fees for common
mind that the purpose of Cy Pres distribution is to ″put[] the
                                                                  fund cases in the lower range of what is reasonable.″ Id. at
unclaimed fund to its next best compensation use, e.g., for
                                                                  122.
the aggregate, indirect, prospective benefit of the class.″ 2
HERBERT B. NEWBERG & ALBA CONTE, NEWBERG                          In this case, the District Court calculated the percentage of
ON CLASS ACTIONS § 10:17 (4th ed. 2002) (emphasis                 the Fund on the basis of the claims made against the Fund,
supplied). Cy Pres means ″as near as possible,″ and ″[c]ourts      [*437] rather than on the entire Fund created by the efforts
have utilized Cy Pres distributions where class members are       of counsel. We hold that this was error. We also hold, on the
difficult to identify, or where they change constantly, or        record before us, that it was error [**38] for the District
where there are unclaimed funds.″ Id. at § 10:16 n. 1. In this    Court to take into account, in setting the percentage fee, the
connection, we take note of the recent Draft of the Principles    conduct for which counsel already was sanctioned. The
of the Law of Aggregate Litigation by the American Law            Magistrate Judge assessed a substantial fine and ordered the
Institute. With respect to the approval of settlements            exclusion of certain time charges from the fee petition, and
providing for a Cy Pres remedy, the Draft proposes a rule         it would be unfair to ″double count″ for the sanctioned
limiting Cy Pres ″to circumstances in which direct                conduct.
distribution to individual [**36] class members is not
economically feasible, or where funds remain after class          In computing the fees on the basis of claims made against
members are given a full opportunity to make a claim.″            the Fund rather than on the basis of the entire Fund, the
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District Court recognized a split of authority on the subject.        that the PSLRA is intended to ″limit[] the award of
See generally 7B CHARLES ALAN WRIGHT & ARTHUR                         attorney[s’] fees and costs to counsel for a class . . . to a
R. MILLER, FEDERAL PRACTICE & PROCEDURE §                             reasonable percentage of the amount of recovery awarded to
1803.1 (2d ed. 2004). In siding with courts that compute              a class.″ Id. at 736.
fees as a percentage of claims made, the District Court saw
the alternative procedure as creating a ″windfall″ for the            The fee restrictions described in the PSLRA do not apply in
attorneys. We disagree. The entire Fund, and not some                 any context other than securities class actions, and, even if
portion thereof, is created through the efforts of counsel at         they did, it is not clear how they would apply. The statute
the instigation of the entire class. An allocation of fees by         speaks [**41] in terms of a percentage of damages ″actually
percentage should therefore be awarded on the basis of the            paid to the class.″ But the entire fund created by [*438] the
total funds made available, whether claimed or not. We side           efforts of counsel presumably is ″paid to the class,″ even if
with the circuits that take this approach. See Waters v. Int’l        some of the funds are distributed under the Cy Pres
Precious Metals Corp., 190 F.3d 1291, 1295 (11th Cir.                 Doctrine. The PSLRA would not allow for the computation
1999); [**39] Williams v. MGM-Pathe Commc’ns Co., 129                 of fees on the basis of such non-damages items as discounts
F.3d 1026, 1027 (9th Cir. 1997).                                      on coupons received in settlement. A key consideration
                                                                      required by the PSLRA ″is the result actually achieved for
Our own cases refer to ″percentage of the fund,″ Wal-Mart             class members, a basic consideration in any case in which
Stores, 396 F.3d at 121 (emphasis supplied), and ″percentage          fees are sought on the basis of a benefit achieved for class
of the recovery,″ Goldberger, 209 F.3d at 47 (emphasis                members.″ Advisory Comm. Notes to Fed. R. Civ. P. 23,
supplied). We take these references to be to the whole of the         2003 Amendments. Arguably, the entire Settlement Fund is
Fund. Use of the entire Fund as a basis for the computation           a ″benefit achieved for class members.″
does not necessarily result in a ″windfall″ because the court
may always adjust the percentage awarded in order to come             The District Court’s reliance on the CAFA is also misplaced.
up with a fee it deems reasonable in light of the Goldberger          The CAFA recites as its purpose the following: ″To amend
factors. Accordingly, we have held that a ″district court did         the procedures that apply to consideration of interstate class
not abuse its discretion in awarding plaintiffs’ counsel a            actions to assure fairer outcomes for class members and
generous fee based on a somewhat low percentage of the                defendants, and for other purposes.″ Class Action Fairness
fund.″ Wal-Mart Stores, 396 F.3d at 123.                              Act, Pub. L. No. 109-2, 119 Stat. 4 (2005). However, the
                                                                      only mention of fees to be allowed to class counsel deals
In support of its decision that counsel fees should be                with the award of fees in coupon [**42] settlement cases.
computed on the basis of funds claimed by class members,              See 28 U.S.C. § 1712(a)-(c). 2
the District Court referred to the PSLRA provision entitled
″Restriction on Payment of Attorneys’ Fees and Expenses.″             IV. Of the Elite Model Management Settlement Allocation
Fears, 2005 U.S. Dist. LEXIS 7961, 2005 WL 1041134, at                Order.
*4. According to that provision, ″[t]otal attorneys’ fees and
expenses awarded [**40] by the court to counsel for the               Appellants contend that ″[t]he [district] court’s entry of the
plaintiff class shall not exceed a reasonable percentage of           Allocation Order [of July 12, 2005] sending the funds
the amount of any damages and prejudgment interest                    received from the Elite Settlement back to the bankruptcy
actually paid to the class.″ 15 U.S.C. § 78u-4(a)(6). But the         court, without notice to the class or an opportunity to submit
PSLRA is not applicable to antitrust class actions such as            claims against those funds, was contrary to the plain
the one before us. It was designed ″to reform abusive                 language and clear intent of the notice provisions of Fed. R.
securities class action litigation″ and ″to exercise supervision      Civ. P. 23(e).″ Brief of Plaintiffs-Appellants at 27. But Rule
and control of the lawyers for the class.″ H.R. REP. NO.              23(e)(1)(B) provides only that ″[t]he court must direct
104-369, at 32 (1995) (Conf. Rep.), as reprinted in 1995              notice in a reasonable manner to all class members who
U.S.C.A.A.N. 730, 731 (relating to Private Securities                 would be bound by a proposed settlement.″ We have
Litigation Reform Act of 1995, Pub. L. No. 104-67). The               interpreted this provision as follows: [**43]
House of Representatives Conference Report also observed
that ″counsel in securities class actions often receive a                  The standard for the adequacy of a settlement notice in
disproportionate share of settlement awards″ and indicated                 a class action under either the Due Process Clause or

2
    It may be, in any event, that upon remand the entire settlement amount will be paid over to the individual claimants, thereby mooting
the whole question of what basis should be used for the computation of fees.
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    the Federal Rules is measured by reasonableness. There          approved the settlement pursuant to Fed. R. Bankr. P. 9019.
    are no rigid rules to determine whether a settlement            Settlement proceeds were to be held in escrow pending the
    notice to the class satisfies constitutional or Rule 23(e)      entry of an ″allocation order″ by the District Court. The
    requirements; the settlement notice must ″fairly apprise        9019 order provided that, to the extent the allocation order
    the prospective members of the class of the terms of the        directed that all or a portion of the Elite settlement was to be
    proposed settlement and of the options that are open to         distributed to charity or to holders of other claims besides
    them in connection with the proceedings.″ Notice is             the class in District Court, such amounts instead would be
    ″adequate if it may be understood by the average class          returned to the Elite estate. No objections to, or appeal from,
    member.″                                                        this order were taken.

Wal-Mart Stores, 396 F.3d at 113-14 (internal citations             The District Court approved the Elite settlement, like all the
omitted). Moreover, a district court’s decision regarding the       other settlements, on May 6, 2005. Not until June 2005,
form and content of notices sent to class members is                when plaintiffs’ attorneys alleged that the class had never
reviewed only for an abuse of discretion. In re ″Agent              received notice of the Elite settlement, was any issue of
Orange″ Prod. Liab. Litig., 818 F.2d 145, 168 (2d Cir.              notice raised. The basis for this argument apparently is that
1987).                                                              an earlier class notice from the District Court regarding the
                                                                    Settlement Agreement stated (because the action had been
In this case, the District Court clearly felt that the class        stayed as to Elite) that it did not settle claims against Elite.
would have received adequate notice of the Elite Settlement         However, it is undisputed that notice was sent through the
through the Bankruptcy Court proceedings. During the                bankruptcy proceedings, [**46] in which class counsel was
course of this litigation, defendant Elite filed its petition for   participating, to all models who had claims against Elite,
bankruptcy, and this filing stayed this class action as [**44]      both as part of the class and as part of a parallel state action.
to Elite. The Bankruptcy Court ordered that all proofs of
                                                                    We agree with the apparent understanding of the District
claim against Elite, including those of the certified class, be
                                                                    Court that the class had received adequate notice of the Elite
filed by June 7, 2004. Thereafter, Elite sent a notice through
                                                                    settlement through the Bankruptcy Court proceedings and
the Bankruptcy Court to its would-be creditors, including
                                                                    find no abuse of discretion in this regard. Moreover,
those of the certified class through the Claims Administrator
                                                                    appellants’ argument here seems to be less directed at a
appointed by the District Court.
                                                                    supposed lack of notice and more at the fact that the District
[*439] On April 29, 2004, one of the attorneys representing
                                                                    Court returned the remainder of the Elite settlement fund to
                                                                    the Bankruptcy Court after determining that the settlement
the plaintiff class informed the District Court of the mailing
                                                                    fund would be adequately funded to pay actual damages
of the notice and asserted that Elite had violated an Order of
                                                                    even without the remainder of Elite’s settlement. This
the District Court regarding class notices. The District Court
                                                                    concern is part-and-parcel of appellants’ argument that class
responded by letter the same day, informing the attorney
                                                                    members should receive treble damages - a topic which we
that it had consulted with the Bankruptcy Court upon receipt
                                                                    have dealt with earlier. In any event, we find that the
of the letter and that it had been determined that, absent an
                                                                    measure of ″reasonableness″ that we require in cases of this
objection in Bankruptcy Court, lead counsel in the class
                                                                    nature has been satisfied and that the notice to the class
action would submit a ″single class-wide proof of claim″
                                                                    members with respect to the Elite settlement was in all
and would ″send a second notice to class members, informing
                                                                    respects adequate.
them that it would be submitting a joint proof of claim.″
Counsel for the class, as well as individual models, filed          CONCLUSION
proofs of claim.
                                                                    The orders of the District Court appealed from are affirmed
In February 2005, Elite and the class settled their claims and      in part and vacated [**47] in part, and the case is remanded
the Bankruptcy Court permitted one claim for the class.             to the District Court for further proceedings in accordance
Because the [**45] claim payment was included as part of            with the foregoing. All pending motions are denied.
a settlement confirmation order, the Bankruptcy Court
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|    | Warning
As of: January 7, 2016 4:07 PM EST


                                    In re Publ’n Paper Antitrust Litig.
                               United States District Court for the District of Connecticut
                                       July 30, 2009, Decided; July 30, 2009, Filed
    Docket No. 3:04 MD 1631 (SRU); NO. 3:05 CV 1267 (SRU); NO. 3:05 CV 1339 (SRU); NO. 3:05 CV 1358 (SRU);
                                            NO. 3:05 CV 1381 (SRU)

Reporter
2009 U.S. Dist. LEXIS 66654

IN RE PUBLICATION PAPER ANTITRUST LITIGATION                    J. Felt, Katherine T. Kelly, LEAD ATTORNEYS, Heins
                                                                Mills & Olson, PLC-MN, Minneapolis, MN; Brian P.
Subsequent History: Summary judgment granted by Par-            Daniels, David R. Schaefer, LEAD ATTORNEYS, Brenner,
liament Paper, Inc. v. Stora Enso Oyj (In re Publ’n Paper       Saltzman & Wallman, New Haven, CT; George F. Farah,
Antitrust Litig.), 2010 U.S. Dist. LEXIS 131931 (D. Conn.,      Kathleen Konopka, LEAD ATTORNEYS, Cohen Milstein
Dec. 14, 2010)                                                  Sellers & Toll-DC, Washington, DC; Henry A. Cirillo,
                                                                LEAD ATTORNEY, The Furth Firm, San Francisco, CA;
Prior History: In re Publ’n Paper Antitrust Litig., 2005        Steven J. Greenfogel, LEAD ATTORNEY, Meredith Cohen
U.S. Dist. LEXIS 19896 (D. Conn., Sept. 6, 2005)                Greenfogel & Skirnick, P.C., Philadelphia, PA; Joseph
                                                                Goldberg, Freedman Boyd Daniels Hollander & Goldberg,
Counsel: [*1] For Charles J. Gardella, Jr., o/b/o himself &     PA, Albuquerque, NM.
all others similarly situated, formerly doing business as FCP
Webindery Inc, Plaintiff (3:04-md-01631-SRU): Alex C.           For Laurence J. Hyman, formerly doing business as
Turan, Thomas P. Dove, LEAD ATTORNEYS, The Furth                Woodford Publishing, formerly doing business as Woodford
Firm, San Francisco, CA; Christopher L. Lebsock, Jon T.         Publishing Inc, formerly doing business as Woodford Press,
King, Michael P. Lehmann, LEAD ATTORNEYS, Hausfeld              formerly doing business as Laurence J Hyman Prod,
LLP, Washington, DC; Eric L. Palmquist, LEAD                    Fremontia, o/b/o all others similarly situated, Plaintiff
ATTORNEY, Izard Nobel PC-Htfd, Hartford, CT.                    (3:04-md-01631-SRU): Bruce Wecker, George Frost, LEAD
                                                                ATTORNEYS, Hosie Frost Large & McArthur, San
For Technolith Inc, o/b/o himself & all others similarly        Francisco, CA.
situated, formerly doing business as FCP Webindery Inc,
Plaintiff (3:04-md-01631-SRU): Alex C. Turan, Henry A.          For Steven L. Reynolds, o/b/o himself & allothers similarly
Cirillo, Thomas P. Dove, LEAD ATTORNEYS, The Furth              situated, [*3] doing business as North Star Printing Co,
Firm, San Francisco, CA; Christopher L. Lebsock, Jon T.         Plaintiff (3:04-md-01631-SRU): Alex C. Turan, Thomas P.
King, Michael P. Lehmann, LEAD ATTORNEYS, Hausfeld              Dove, LEAD ATTORNEYS, The Furth Firm, San Francisco,
LLP, Washington, DC; Craig C. Corbitt, LEAD ATTORNEY,           CA; Christopher L. Lebsock, Jon T. King, Michael P.
Zelle, Hofmann, Voelbel, Mason & Gette LLP, San                 Lehmann, LEAD ATTORNEYS, Hausfeld LLP, Washington,
Francisco, CA; Eric L. Palmquist, LEAD ATTORNEY,                DC; Craig C. Corbitt, LEAD ATTORNEY, Zelle, Hofmann,
Izard Nobel PC-Htfd, Hartford, CT; Brian P. Daniels,            Voelbel, Mason & Gette LLP, San Francisco, CA; Eric L.
Brenner, Saltzman & Wallman, New Haven, CT.                     Palmquist, Izard Nobel PC-Htfd, Hartford, CT.

For Larry Weiss, o/b/o himself & all others similarly           For ICS Corp, o/b/o itself & all others similarly situated,
situated, formerly doing business as Forms Inc, Plaintiff       Plaintiff (3:04-md-01631-SRU): Ethan A. Levin-Epstein,
(3:04-md-01631-SRU): Eric L. Palmquist, Jeffrey S. Nobel,       Joseph D. Garrison, LEAD ATTORNEYS, Garrison
LEAD ATTORNEYS, Izard Nobel PC-Htfd, Hartford, CT;              Levin-Epstein Chimes & Richardson, New Haven, CT;
  [*2] Jeffrey B. Gittleman, Mark R. Rosen, LEAD                Jennifer Gross, LEAD ATTORNEY, Lieff, Cabraser,
ATTORNEYS, Barrack, Rodos & Bacine, Philadelphia, PA.           Heimann & Bernstein, LLP-NY, New York, NY.

For Acorn/Parliament Paper Inc, o/b/o itself & all others       For Copyrite Inc, o/b/o themselves and all others similarly
similarly situated, Plaintiff (3:04-md-01631-SRU): Barbara      situated, Richard Bentley, o/b/o himself & all others similarly
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situated, Plaintiffs (3:04-md-01631-SRU): Bernard Persky,      Steiner, LEAD ATTORNEY, Gustafson Gluek PLLC-MN,
Hollis L. Salzman, LEAD ATTORNEYS, PRO HAC VICE,               Minneapolis, MN; Seymour J. Mansfield, LEAD
Labaton Sucharow LLP-NY, New York, NY; Brian P.                ATTORNEY, Mansfield Tanick & Cohen, P.A, Minneapolis,
Daniels, LEAD ATTORNEY, Brenner, Saltzman & Wallman,           MN; Brian P. Daniels, Brenner, Saltzman & Wallman, New
New Haven, CT; Henry A. Cirillo, LEAD ATTORNEY, The            Haven, CT.
Furth Firm, San Francisco, CA.
                                                               For Three Z Printing Co on behalf of itself and all others
For Twin Palms Inc, o/b/o itself & all others similarly        similarly situated, Plaintiff (3:04-md-01631-SRU): James
situated, doing business [*4] as Access Direct Group,          W. Bergenn, Ross H. Garber, LEAD ATTORNEYS, Shipman
Plaintiff (3:04-md-01631-SRU): David A. Slossberg, J.           [*6] & Goodwin -ConstPlza-Htfd, Hartford, CT; Mary Jane
Daniel Sagarin, LEAD ATTORNEYS, Hurwitz Sagarin                Fait, LEAD ATTORNEY, Wolf Haldenstein Adler Freeman
Slossberg & Knuff LLC, Milford, CT; Jason S. Hartley,          Herz-IL, Chicago, IL; Shana-Tara Regon, LEAD
LEAD ATTORNEY, Ross Dixon & Bell, San Diego, CA.               ATTORNEY, National Association of Criminal Defense
                                                               Lawyers, Washington, DC.
For Digital Color Imaging, Inc, o/b/o itself & all others
similarly situated, Plaintiff (3:04-md-01631-SRU): Brian P.    For Nies Artcraft Companies, Inc, o/b/o itself and all others
Daniels, David R. Schaefer, LEAD ATTORNEYS, Brenner,           similarly situated, Plaintiff (3:04-md-01631-SRU): James
Saltzman & Wallman, New Haven, CT; Brian Ratner,               W. Bergenn, Ross H. Garber, LEAD ATTORNEY, Shipman
LEAD ATTORNEY, Cohen Milstein Sellers & Toll-DC,               & Goodwin -ConstPlza-Htfd, Hartford, CT; John A. Kilo,
Washington, DC; Henry A. Cirillo, LEAD ATTORNEY,               LEAD ATTORNEY, Kilo, Flynn, Billingsley, Trame &
The Furth Firm, San Francisco, CA; Michael D. Hausfeld,        Brown, P.C, St. Louis, MO; Mary Jane Fait, LEAD
Hilary K. Ratway, Andrea Lynn Hertzfeld, LEAD                  ATTORNEY, Wolf Haldenstein Adler Freeman Herz-IL,
ATTORNEYS, Hausfeld LLP, Washington, DC.                       Chicago, IL; Shana-Tara Regon, LEAD ATTORNEY,
                                                               National Association of Criminal Defense Lawyers,
For Presswrite Printing Inc, o/b/o itself and all others       Washington, DC.
similarly situated, Plaintiff (3:04-md-01631-SRU): Eric L.
Palmquist, Jeffrey S. Nobel, LEAD ATTORNEYS, Izard             For MMP BALA Inc, o/b/o itself and all others similarly
Nobel PC-Htfd, Hartford, CT; Henry A. Cirillo, LEAD            situated, Plaintiff (3:04-md-01631-SRU): Anthony D.
ATTORNEY, The Furth Firm, San Francisco, CA; Brian P.          Shapiro, Steven W. Berman, LEAD ATTORNEYS, Hagens
Daniels, Brenner, Saltzman & Wallman, New Haven, CT.           Berman, LLP, Seattle, WA; Evan J. Smith, LEAD
                                                               ATTORNEY, Brodsky & Smith, LLC-PA, Bala Cynwyd,
For Lane Press Inc, o/b/o itself and all others similarly      PA; Henry A. Cirillo, LEAD ATTORNEY, The Furth Firm,
                                                               San Francisco, CA; Brian P. Daniels, Brenner, Saltzman &
situated, Plaintiff (3:04-md-01631-SRU): Brian P. Daniels,
                                                               Wallman, New Haven, CT.
LEAD ATTORNEY, Brenner, Saltzman & Wallman, New
Haven, CT.
                                                               For Newtown Business Forms Corp, o/b/o itself and all
                                                               others similarly situated, Plaintiff (3:04-md-01631-SRU):
For Austin Printing [*5] Co. Inc, individually and o/b/o all
                                                                [*7] Anthony D. Shapiro, Steven W. Berman, LEAD
others similarly situated, Plaintiff (3:04-md-01631-SRU):
                                                               ATTORNEY, Seattle, WA; Daniel Richard Karon, LEAD
Barbara J. Felt, Katherine T. Kelly, LEAD ATTORNEYS,           ATTORNEY, Goldman Scarlato & Karon PC, Cleveland,
Heins Mills & Olson, PLC-MN, Minneapolis, MN; Beth J.          OH; Douglas A. Abrahams, LEAD ATTORNEY, Kohn,
Kushner, LEAD ATTORNEY, Von Briesen & Roper SC,                Swift & Graf, Philadelphia, PA; Isaac Diel, LEAD
Milwaukee, WI; Charles N. Nauen, W. Joseph Bruckner,           ATTORNEY, Diel & Seelman, Prairie Village, KS; Joseph
LEAD ATTORNEYS, Lockridge Grindall Nauen PLLP,                 C. Kohn, William E. Hoese, LEAD ATTORNEY, PRO
Minneapolis, MN; Daniel Gustafson, LEAD ATTORNEY,              HAC VICE, Kohn, Swift & Graf, Philadelphia, PA; Krishna
PRO HAC VICE, Gustafson Gluek PLLC-MN, Minneapolis,            B. Narine, LEAD ATTORNEY, Law Office of Krishna B.
MN; Dianne M. Nast, LEAD ATTORNEY, Erin C. Burns,              Narine, Elkins Park, PA; Stephen E. Connolly, LEAD
Roda Nast PC, Lancaster, PA; George F. Farah, Kathleen         ATTORNEY, Barroway, Topaz, Kessler, Meltzer & Check
Konopka, LEAD ATTORNEYS, Cohen Milstein Sellers &              LLP, Radnor, PA; W. Joseph Bruckner, LEAD ATTORNEY,
Toll-DC, Washington, DC; Gerald J. Rodos, Jeffrey B.           Lockridge Grindal Nauen PLLP, Minneapolis, MN.
Gittleman, Mark R. Rosen, LEAD ATTORNEYS, Barrack,
Rodos & Bacine, Philadelphia, PA; Henry A. Cirillo, LEAD       For T & W Printing Inc, o/b/o itself and all others similarly
ATTORNEY, The Furth Firm, San Francisco, CA; Renae D.          situated, Plaintiff (3:04-md-01631-SRU): Henry A. Cirillo,
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LEAD ATTORNEY, The Furth Firm, San Francisco, CA;                  LEAD ATTORNEY, Susman & Watkins, Chicago, IL;
Joseph M. Patane, LEAD ATTORNEY, Law Office of                     James B. Sloan, LEAD ATTORNEY, Pedersen & Houpt,
Joseph M. Patane, San Francisco, CA; Mario N. Alioto,              P.C.-IL, Chicago, IL; John A. Cochrane, LEAD ATTORNEY,
LEAD ATTORNEY, Trump Alioto Trump & Prescott LLP,                  Cochrane & Bresnahan, St. Paul, MN; Robert E. Davy,
San Francisco, CA; Brian P. Daniels, Brenner, Saltzman &           LEAD ATTORNEY, Robert E. Davy, Jr. & Associates,
Wallman, New Haven, CT.                                            Chicago, IL; William T. Gotfryd, LEAD ATTORNEY,
                                                                   Susman & Watkins-IL, Chicago, IL.
For Custom Printing of Willmar, Inc, o/b/o itself and all
others similarly situated, Plaintiff (3:04-md-01631-SRU):          For Conley Printing LLC, Garvey Group LLC, Tru-Line
Peter A. Pease, LEAD ATTORNEY, Berman [*8] DeValerio               Lithographics, Inc, Johnson Litho Graphics of Eau Claire,
-MA, Boston, MA; Samuel D. Heins, Vincent J. Esades,               Ltd, Plaintiffs (3:04-md-01631-SRU): David R. Schaefer,
LEAD ATTORNEYS, Heins Mills & Olson, PLC-MN,                       LEAD ATTORNEY, Brenner, Saltzman & Wallman, New
Minneapolis, MN.                                                   Haven, CT; John T. Cusack, Steven S. Shonder, LEAD
                                                                   ATTORNEYS, [*10] Gardner, Carton & Douglas LLP - IL,
For Service Web Offset Corp, o/b/o itself and all others           Chicago, IL.
similarly situated, Plaintiff (3:04-md-01631-SRU): Gary L.
Specks, LEAD ATTORNEY, Kaplan Fox & Kilsheimer                     For Three Z Printing Co, Nies Artcraft Companies, Inc,
LLP-HgldPk IL, Highland Park, IL; Gregory K. Arenson,              Plaintiffs (3:04-md-01631-SRU): David A. Slossberg, J.
Robert N. Kaplan, LEAD ATTORNEYS, Kaplan Fox &                     Daniel Sagarin, LEAD ATTORNEYS, Hurwitz Sagarin
Kilsheimer, LLP- NY, New York, NY; Henry A. Cirillo,               Slossberg & Knuff LLC, Milford, CT; Mary Jane Fait,
LEAD ATTORNEY, The Furth Firm, San Francisco, CA;                  LEAD ATTORNEY, Wolf Haldenstein Adler Freeman
James B. Sloan, LEAD ATTORNEY, Pedersen & Houpt,                   Herz-IL, Chicago, IL.
P.C.-IL, Chicago, IL; Brian P. Daniels, Brenner, Saltzman &
Wallman, New Haven, CT.                                            For Barbara Aceto, o/b/o herself and all others similarly
                                                                   situated, Joan Guarino, o/b/o herself and all others similarly
For DCI, Inc, o/b/o itself and all others similary situated,       situated, Chris Young, Adrienne Nicole-Sffridge, Indirect
Plaintiff (3:04-md-01631-SRU): Joseph J. DePalma, LEAD             Purchaser Plaintiff, Marc Beitia, Indirect Purchaser Plaintiff,
ATTORNEY, Lite, DePalma, Greenberg and Rivas, LCC,                 Chris Young, Indirect Purchaser Plaintiff, Heather Brittain,
Newark, NJ.                                                        Indirect Purchaser Plaintiff, Ann Weathersbee, Indirect
                                                                   Purchaser Plaintiff, Jonathan M Benfield, Indirect Purchaser
For Star Printing Co, Inc, o/b/o itself and all others similarly   Plaintiff, Bridget Roberts, Indirect Purchaser Plaintiff, Luke
situated, Plaintiff (3:04-md-01631-SRU): Howard J. Sedran,         Capazzolli, Indirect Purchaser Plaintiff, Stacey Hayashi,
LEAD ATTORNEY, Levin, Fishbein, Sedran & Berman,                   Indirect Puchaser Plaintiff, Laura Sakalauskas, Indirect
Philadelphia, PA; Steven A. Asher, LEAD ATTORNEY,                  Purchaser Plaintiff, Arlene Andrews, Indirect Purchaser
Weinstein Kitchenoff LLC-PA, Philadelphia, PA.                     Plaintiff, Richard Pratt, Indirect Purchaser Plaintiff, Lucile
                                                                   DiPietro, Indirect Purchaser Plaintiff, Alice Campos, Indirect
For      Champion        Printing      Corp,       Plaintiff       Purchaser Plaitiff, Amy Manning, Indirect Purchaser
(3:04-md-01631-SRU): Ann D. White, LEAD ATTORNEY,                  Plaintiff, Sandra Farmer-Jova, Indirect Purchaser
Ann D. White Law Offices, PC, Jenkintown, [*9] PA;                  [*11] Plaintiff, Thomas Muldoon, Indirect Puchaser Plaintiff,
Daniel Richard Karon, LEAD ATTORNEY, Goldman                       Timothy Spears, Indirect Purchaser Plaintiff, William Harold
Scarlato & Karon PC, Cleveland, OH; Eugene A. Spector,             Lee, Indirect Purchaser Plaintiff, William Friedlander,
William G. Caldes, LEAD ATTORNEYS, Spector, Roseman                Indirect Purchaser Plaintiff, Heather Jens, Indirect Purchaser
& Kodroff, Philadelphia, PA; Garrett D. Blanchfield, LEAD          Plaintiff, Susan Morris, Indirect Purchaser Plaintiff, Therese
ATTORNEY, Reinhardt, Wendorf & Blanchfield, St. Paul,              Armbruster, Indirect Purchaser Plaintiff, Brighid Flaherty,
MN; Jeffrey J. Corrigan, LEAD ATTORNEY, Spector,                   Angela Votta, Ryan Allder, Plaintiffs (3:04-md-01631-SRU):
Roseman & Kodroff, PC, Mark Reinhardt, LEAD                        Robert J. Bonsignore, LEAD ATTORNEY, Bonsignore &
ATTORNEY, Reinhardt & Anderson, St. Paul, MN; Susan                Brewer, Medford, MA.
G. Kupfer, LEAD ATTORNEY, Glancy & Binkow, San
Francisco, CA.                                                     For Jorine Lowry, o/b/o herself and all others similarly
                                                                   situated, Plaintiff (3:04-md-01631-SRU): D. Michael
For Kukla Press Inc, o/b/o itself and all others similarly         Noonan, LEAD ATTORNEY, Shaheen & Gordon, P.A.,
situated, Plaintiff (3:04-md-01631-SRU): Arthur T. Susman,         Dover, NH.
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                                                                                                       Page 4 of 8
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For Shelly Smith, o/b/o herself and all others similarly    Fortinsky, Marc D. Ashley, LEAD ATTORNEYS, Shearman
situated, Donna McCann, o/b/o herself and all others        & Sterling - NYC, New York, NY; Kenneth M. Kramer,
similarly situated, Plaintiffs (3:04-md-01631-SRU): Arend   LEAD ATTORNEY, Shearman & Sterling, New York, NY;
R. Tensen, LEAD ATTORNEY, Cullenberg & Tensen,              James T. Shearin, Pullman & Comley, Bridgeport, CT.
PLLC, Lebanon, NH; D. Michael Noonan, LEAD
ATTORNEY, Shaheen & Gordon, P.A, Dover, NH.                 For    Norske     Skog   Canada   Ltd,   Defendant
                                                            (3:04-md-01631-SRU): Karen McAndrew, LEAD
For Beth Mahoney, Plaintiff (3:04-md-01631-SRU): D.
                                                            ATTORNEY, PRO HAC VICE, Dinse, Knapp & McAndrew,
Michael Noonan, LEAD ATTORNEY, Shaheen & Gordon,
                                                            P.C.-VT, Burlington, VT; Steven David Ecker, LEAD
P.A, Dover, NH; Robert J. Bonsignore, LEAD ATTORNEY,
                                                            ATTORNEY, Cowdery, Ecker & Murphy, L.L.C., Hartford,
Bonsignore & Brewer, Medford, MA.
                                                            CT.
For       International   Paper        Co.,   Defendant
(3:04-md-01631-SRU): [*12] Daniel W. Nelson, James R.       For Norske Skog Canada (USA) Inc, Defendant
Loftis, III, LEAD ATTORNEYS, Gibson, Dunn & Crutcher        (3:04-md-01631-SRU): Diane E. Pritchard, Jesse W.
- DC, Washington, DC; John T. Sartore, LEAD ATTORNEY,       Markham, Stuart C. Plunkett, LEAD ATTORNEYS,
PRO HAC VICE, Paul Frank & Collins PC, Burlington, VT;      Morrison & Foerster, LLP-San, CA, San Francisco, CA;
Joshua Lipton, LEAD ATTORNEY, PRO HAC VICE,                 Jennifer L. Parent, LEAD ATTORNEY, McLane, Graf,
Gibson, Dunn & Crutcher - DC, Washington, DC; Michael       Raulerson & Middleton, Manchester, NH; Kenneth M.
J. Connolly, LEAD ATTORNEY, PRO HAC VICE, Hinkley           Kramer, LEAD ATTORNEY, Shearman & Sterling,
Allen & Snyder - NH, Concord, NH; Robert M. Langer,           [*14] New York, NY; Steven David Ecker, LEAD
LEAD ATTORNEY, Wiggin & Dana, Hartford, CT.                 ATTORNEY, Cowdery, Ecker & Murphy, L.L.C., Hartford,
                                                            CT.
For Meadwestvaco Corp, Defendant (3:04-md-01631-SRU):
Alan M. Wiseman, Joseph A. Ostoyich, LEAD                   For Stora Enso Oyj, Defendant (3:04-md-01631-SRU):
ATTORNEYS, Howrey, Simon, Arnold & White - DC,              Alex V. Hernandez, LEAD ATTORNEY, Pullman & Comley
Washington, DC; Andrew Benjamin Nevas, Frank J.             - Bpt, Bridgeport, CT; Amy J. Carletti, LEAD ATTORNEY,
Silvestri, Jr., LEAD ATTORNEYS, Levett Rockwood,            McDermott Will & Emery - IL, Chicago, IL; David Marx,
Westport, CT; Eric S. Berman, Vanessa H. Forsythe, LEAD     Jr., LEAD ATTORNEY, McDermott Will & Emery, Chicago,
ATTORNEYS, Howrey, LLP - DC, Washington, DC; Lisa           IL; Diane Woodfield Whitney, Lee D. Hoffman, LEAD
C. Sullivan, LEAD ATTORNEY, Howrey, Simon, Arnold &         ATTORNEYS, Pullman & Comley - Htfd, Hartford, CT;
White LLP-IL, Chicago, IL; Madeleine F. Grossman, LEAD      Nicole Lauren Castle, LEAD ATTORNEY, McDermott,
ATTORNEY, Levett Rockwood, PC, Westport, CT.                Will & Emery-DC, Washington, DC; Adam J. Cohen, James
                                                            T. Shearin, Pullman & Comley, Bridgeport, CT.
For     Norske   Skogindustrier ASA,     Defendant
(3:04-md-01631-SRU): Dan E. LaBelle, LEAD                   For Stora Enso NA Corp, Defendant (3:04-md-01631-SRU):
ATTORNEY, Halloran & Sage, Westport, CT; Marc D.            Adam J. Cohen, LEAD ATTORNEY, James T. Shearin,
Ashley, LEAD ATTORNEY, Shearman & Sterling - NYC,           Pullman & Comley, Bridgeport, CT; Alex V. Hernandez,
New York, NY; James T. Shearin, Pullman & Comley,           LEAD ATTORNEY, Pullman & Comley - Bpt, Bridgeport,
Bridgeport, CT.                                             CT; Amy J. Carletti, LEAD ATTORNEY, McDermott Will
                                                            & Emery - IL, Chicago, IL; David Marx, Jr., LEAD
For Norske Skog NA LLC,               [*13] Defendant       ATTORNEY, McDermott Will & Emery, Chicago, IL;
(3:04-md-01631-SRU): Dan E. LaBelle, LEAD                   Diane Woodfield Whitney, Lee D. Hoffman, LEAD
ATTORNEY, Halloran & Sage, Westport, CT; Hugh F.            ATTORNEYS, Pullman & Comley - Htfd, Hartford, CT;
Bangasser, LEAD ATTORNEY, Preston Gates & Ellis-WA,         Nicole Lauren Castle, LEAD ATTORNEY, McDermott,
Seattle, WA; Martha Van Oot, LEAD ATTORNEY, Orr &           Will & Emery-DC, Washington, DC; Shelley R. Sadin,
Reno, Concord, NH; Theresa L. Keyes, LEAD ATTORNEY,         LEAD ATTORNEY, Zeldes, Needle & Cooper, Bridgeport,
Preston, Gates & Ellis-Spokane-WA, Spokane, WA.              [*15] CT.

For    Norske    Skog  (USA)     Inc,    Defendant          For Sappi Ltd, Defendant (3:04-md-01631-SRU): Jonathan
(3:04-md-01631-SRU): Dan E. LaBelle, LEAD                   S. Katz, Jacobs, Grudberg, Belt, Dow & Katz, P.C., New
ATTORNEY, Halloran & Sage, Westport, CT; Jerome S.          Haven, CT.
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                                                                                                            Page 5 of 8
                                          2009 U.S. Dist. LEXIS 66654, *15

For SD Warren Co, Defendant (3:04-md-01631-SRU): David       ATTORNEYS, Jones [*17] Day-DC, Washington, DC;
L. Belt, LEAD ATTORNEY, Jacobs, Grudberg, Belt, Dow          Melissa J. Nandi, LEAD ATTORNEY, Jones Day-OH,
& Katz, P.C., New Haven, CT; Julie B. Rottenberg, Mark R.    Cleveland, OH; Michael G. Caldwell, LeClairRyan, A
Merley, LEAD ATTORNEYS, Arnold & Porter - DC,                Professional Corporation, New Haven, CT; Timothy P.
Washington, DC; Thomas Laprade, LEAD ATTORNEY,               Jensen, Hinckley, Allen & Snyder, LLP, Hartford, CT.
Lambert Coffin, Portland, ME; Jonathan S. Katz, Jacobs,
Grudberg, Belt, Dow & Katz, P.C., New Haven, CT.             For       NewPage       Corporation,     Defendant
                                                             (3:04-md-01631-SRU): Alex V. Hernandez, LEAD
For M-Real Corp, Defendant (3:04-md-01631-SRU):              ATTORNEY, Pullman & Comley - Bpt, Bridgeport, CT;
Edward D. Hassi, LEAD ATTORNEY, PRO HAC VICE,                Amy J. Carletti, Holland M. Tahvonen, LEAD
O’Melveny & Myers LLP - NYC, New York, NY; Helena            ATTORNEYS, McDermott Will & Emery - IL, Chicago, IL;
Almeida, Olivier N. Antoine, LEAD ATTORNEYS, Simpson         David Marx, Jr., LEAD ATTORNEY, McDermott Will &
Thacher & Bartlett LLP-NY, New York, NY; Mark G.             Emery, Chicago, IL; Nicole Lauren Castle, LEAD
Cunha, LEAD ATTORNEY, Simpson, Thacher & Bartlett,           ATTORNEY, McDermott, Will & Emery-DC, Washington,
New York, NY; James R. Fogarty, Fogarty, Cohen, Selby &      DC.
Nemiroff, Greenwich, CT.
                                                             For MDL Panel, Defendant (3:04-md-01631-SRU): MDL
For M-Real USA Corp, Defendant (3:04-md-01631-SRU):          Panel, LEAD ATTORNEY, Washington, DC.
Edward D. Hassi, LEAD ATTORNEY, PRO HAC VICE,
O’Melveny & Myers LLP - NYC, New York, NY; Helena            For Barbara Aceto, o/b/o themselves and all others similary
Almeida, Olivier N. Antoine, LEAD ATTORNEYS, Simpson         situated, Joan Guarino, o/b/o themselves and all others
Thacher & Bartlett LLP-NY, New York, NY; James R.            similary situated, Plaintiffs (3:05-cv-01267): Robert J.
Fogarty, LEAD ATTORNEY, Fogarty, Cohen, Selby &              Bonsignore, LEAD ATTORNEY, Bonsignore & Brewer,
Nemiroff, Greenwich, CT; Mark G. Cunha, [*16] LEAD           Medford, MA.
ATTORNEY, Simpson, Thacher & Bartlett, New York, NY.
                                                             For MDL Panel, Notice (3:05-cv-01267): MDL Panel,
For        UPM-Kymmene           Corp,        Defendant      LEAD ATTORNEY, Judicial Panel on MDL Office of the
(3:04-md-01631-SRU): Carrie L. Kiedrowski, L. Trammell       Clerk, Washington, DC.
Newton, Jr., LEAD ATTORNEYS, Jones Day-GA, Atlanta,
GA; Edwin L. Fountain, LEAD ATTORNEY, Jones Day,             For Jorine Lowry, o/b/o herself and all others similarly
Washington, DC; John M. Majoras, Michael J. Will, LEAD       situated, Plaintiff (3:05-cv-01339-SRU): D. Michael Noonan,
ATTORNEYS, Jones Day-DC, Washington, DC; Melissa J.          LEAD ATTORNEY, Shaheen & Gordon, P.A., [*18] Dover,
Nandi, LEAD ATTORNEY, Jones Day-OH, Cleveland, OH;           NH.
Timothy P. Jensen, LEAD ATTORNEY, Hinckley, Allen &
Snyder, LLP, Hartford, CT; Michael G. Caldwell,              For Stora Enso North America Corp., Defendant
LeClairRyan, A Professional Corporation, New Haven, CT.      (3:05-cv-01339-SRU):David Marx, Jr., LEAD ATTORNEY,
                                                             McDermott Will & Emery, Chicago, IL; Margaret M.
For Myllykoski Corp, Madison Intl Sales Co, Defendants       O’Keefe, LEAD ATTORNEY, Pierce, Atwood LLP,
(3:04-md-01631-SRU): Clifford E. Nichols, III, Jonathan B.   Portland, ME.
Tropp, Kenneth W. Ritt, LEAD ATTORNEYS, Day Pitney
LLP-Stmfd-CT, Stamford, CT.                                  For SD Warren Co, Defendant (3:05-cv-01339-SRU): Julie
                                                             B. Rottenberg, Mark R. Merley, LEAD ATTORNEYS,
For Bowater, Inc, Defendant (3:04-md-01631-SRU): Shelley     Arnold & Porter - DC, Washington, DC; Thomas Laprade,
R. Sadin, LEAD ATTORNEY, Zeldes, Needle & Cooper,            LEAD ATTORNEY, Lambert Coffin, Portland, ME.
Bridgeport, CT.
                                                             For MDL Panel, Notice (3:05-cv-01339-SRU): MDL Panel,
For UPM-Kymmene, Inc, Defendant (3:04-md-01631-SRU):         LEAD ATTORNEY, Judicial Panel on MDL Office of the
Brian J. Murray, LEAD ATTORNEY, Jones Day-Wacker             Clerk, Washington, DC.
Dr.-IL, Chicago, IL; Carrie L. Kiedrowski, L. Trammell
Newton, Jr., LEAD ATTORNEYS, Jones Day-GA, Atlanta,          For Shelly Smith, o/b/o herself and all others similarly
GA; Edwin L. Fountain, LEAD ATTORNEY, Jones Day,             situated, Donna McCann, o/b/o of herself and all others
Washington, DC; John M. Majoras, Michael J. Will, LEAD       similarly situated, PlaintiffS (3:05-cv-01358-SRU): Arend
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                                        2009 U.S. Dist. LEXIS 66654, *18

R. Tensen, LEAD ATTORNEY, Cullenberg & Tensen,           For MDL Panel, Notice (3:05-cv-01381-SRU): MDL Panel,
PLLC, Lebanon, NH; D. Michael Noonan, LEAD               LEAD ATTORNEY, Judicial Panel on MDL Office of the
ATTORNEYS, Shaheen & Gordon, P.A., Dover, NH.            Clerk, Washington, DC.

For      International   Paper        Co.,   Defendant   Judges: Stefan R. Underhill, United States District Judge.
(3:05-cv-01358-SRU): John T. Sartore, LEAD ATTORNEY,
PRO HAC VICE, Paul Frank & Collins PC, Burlington, VT.   Opinion by: Stefan R. Underhill

For Norske Skog Canada (USA) Inc, Defendant
(3:05-cv-01358-SRU): Diane E. Pritchard, Jesse W.
                                                         Opinion
Markham, LEAD ATTORNEYS, Morrison & Foerster,
LLP-San, CA, San Francisco, CA.                          ORDER   REGARDING                DISBURSEMENT             OF
                                                         SETTLEMENT FUNDS
For    Norske    Skog     Canada     Ltd,   Defendant
 [*19] (3:05-cv-01358-SRU): Karen McAndrew, LEAD         Plaintiffs Brighid Flaherty, Stacey Hayashi, Chris Young,
ATTORNEY, PRO HAC VICE, Dinse, Knapp & McAndrew,         Heather Brittain, Barbara Aceto, Laura Sakalauskas, Arlene
P.C.-VT, Burlington, VT.                                 Andrews, Richard Pratt, Angela Votta, Ryan Allder, Beth
                                                         Mahoney, Amy Manning, Sandra Farmer-Jova, Heather
For MDL Panel, Notice (3:05-cv-01358-SRU): MDL Panel,    Jens, Jonathan M. Benfield, Timothy Spears, and Therese
LEAD ATTORNEY, Judicial Panel on MDL Office of the       Armbruster (collectively ″Plaintiffs″), on behalf of
Clerk, Washington, DC.                                   themselves and a conditionally certified Class of indirect
                                                         end users of certain grades of Publication Paper, entered
For Beth Mahoney, Plaintiff (3:05-cv-01381-SRU): D.      into a Settlement Agreement with defendants
Michael Noonan, LEAD ATTORNEY, Shaheen & Gordon,         UPM--Kymmene Corporation and UPM-Kymmene, Inc.
P.A., Dover, NH.                                         (collectively ″UPM″) to fully and finally resolve the
                                                         plaintiffs’ claims against UPM. On May 26, 2009, I granted
For      International   Paper    Co.,     Defendant     the plaintiffs’ motion for final approval of that settlement.
(3:05-cv-01381-SRU): Daniel W. Nelson, LEAD
ATTORNEY, Gibson, Dunn & Crutcher - DC, Washington,      When I approved that settlement, I approved the escrow
DC; Michael J. Connolly, LEAD ATTORNEY, PRO HAC          account established by the parties, and into which UPM
VICE, Hinkley Allen & Snyder-NH, Concord, NH.            deposited the $ 700,000.00 settlement proceeds, [*21] as a
                                                         qualified settlement fund pursuant to Internal Revenue Code
For Norske Skog North America LLC, Defendant             Section 468B and the Treasury regulations promulgated
(3:05-cv-01381-SRU): Hugh F. Bangasser, LEAD             thereunder. I also retained jurisdiction over, inter alia, the
ATTORNEY, Preston Gates & Ellis-WA, Seattle, WA;         distribution of the settlement proceeds and any awards of
Martha Van Oot, LEAD ATTORNEY, Orr & Reno, Concord,      attorneys’ fees and expense reimbursements.
NH.                                                      I now order that the settlement money currently held in
                                                         escrow be distributed in the following manner:
For     Norske   Skog   (USA)    Inc,    Defendant
(3:05-cv-01381-SRU): Kenneth M. Kramer, LEAD             A. Attorneys’ Fees
ATTORNEY, Shearman & Sterling, New York, NY.
                                                         An attorney whose work creates a common fund is ″entitled
For Norske Skog Canada (USA) Inc, Defendant              to a reasonable fee … taken from the fund.″ Goldberger v.
(3:05-cv-01381-SRU): Diane E. Pritchard, Jesse W.        Integrated Resources, Inc., 209 F.3d 43, 47 (2d Cir. 2000).
Markham, LEAD ATTORNEYS, Morrison & Foerster,            A district court may use its discretionary powers to determine
LLP-San, CA, San Francisco, CA; Jennifer L. Parent,      what is a reasonable and fair award from a common fund.
LEAD ATTORNEY, McLane, Graf, Raulerson & Middleton,      See, e.g., In re Combustion, Inc., 968 F. Supp. 1116 (W.D.
Manchester, NH.                                          La. 1997) (citing Newberg on Class Actions (3d ed.)).
                                                         Plaintiffs’ counsel has submitted a request for an award of
For    Stora     Enso     NA       Corp,    Defendant    attorneys’ fees of $ 233,100, which constitutes approximately
 [*20] (3:05-cv-01381-SRU): David Marx, Jr., LEAD        one-third of the total settlement fund amount. That request
ATTORNEY, McDermott Will & Emery, Chicago, IL.           is approved.
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B. Incentive Award to Class Representatives                       disbursement of excess funds directly to plaintiffs. For
                                                                  instance, in actions such as this one brought under the
Plaintiffs’ counsel has requested that an incentive award of      Clayton Act, I am to consider whether an award of treble
$ 20,000 be distributed to the class representatives. Such an     damages is warranted. Id. at 435-36. See also In re Folding
award is within my discretion, [*22] and the proper amount        Carton Antitrust Litig., 557 F. Supp. 1091, 1104-07 (N.D.
for an incentive award is related to the ″personal risk           Ill. 1983) [*24] (recognizing the district court’s discretion to
incurred by the individual or any additional effort expended      consider whether excess funds in antitrust class action
by the individual for the benefit of the lawsuit.″ Dornberger     settlement could be awarded equitably as treble damages
v. Metro. Life Ins. Co., 203 F.R.D. 118, 124 (S.D.N.Y.            after claimants were paid in full).
2001); see Sheppard v. Consolid. Edison Co. of N.Y., Inc.,
2002 U.S. Dist. LEXIS 16314, 2002 WL 2003206, at *6               Section 4 of the Clayton Act provides in relevant part that
(E.D.N.Y. Aug. 1, 2002) (citing cases approving incentive         ″any person who shall be injured in his business or property
awards). An incentive award of $ 20,000 is appropriate in         by reason of anything forbidden in the antitrust laws may
this case.                                                        sue therefor in any district court of the United States in the
                                                                  district in which the defendant resides or is found or has an
C. Payment to Class Members                                       agent, without respect to the amount in controversy, and
                                                                  shall recover threefold the damages by him sustained, and
Plaintiffs’ counsel has indicated that the aggregate amount       the cost of suit, including a reasonable attorney’s fee.″
of $ 76,422 should be paid to the plaintiff class members.        Because treble damages are available under the Clayton Act,
That request is approved.                                         and because I am only to authorize a cy pres award where
                                                                  direct distribution to individual class members is not
D. Treble Damages                                                 economically feasible, I award treble damages to the class
                                                                  members. Accordingly, the total amount of recovery to the
Plaintiffs’ counsel suggests that the remainder of the
                                                                  class members from the settlement funds is three times $
settlement funds be distributed among various charitable
                                                                  76,422, or $ 229,266.
organizations under the cy pres doctrine. Where, as here,
settlement funds remain after distribution to the plaintiffs,
                                                                  E. Cy Pres Award
cy pres distribution is warranted in order to
                                                                  As discussed above, where settlement funds remain, an
    ″put[] the unclaimed fund to its next best compensation       award under the Cy Pres doctrine is appropriate to put the
    use, e.g., for the aggregate, indirect, prospective benefit   remainder to its next best compensation [*25] use. Because
    of the class.″ 2 Herbert B. Newberg & Alba Conte,             the plaintiffs’ claims here are based on antitrust injury, the
    Newberg on Class Actions § 10:17 (4th ed.2002)                next best use for the settlement funds is to disburse those
    (emphasis supplied). Cy Pres means ″as near as                funds to charitable institutions designed to guard against
    possible,″ [*23] and ″[c]ourts have utilized Cy Pres          antitrust injury and protect consumers.
    distributions where class members are difficult to
    identify, or where they change constantly, or where           Accordingly, the remaining $ 217,634 should be disbursed
    there are unclaimed funds.″ Id. at § 10:16 n. 1. In this      as follows: (1) the American Antitrust Institute is awarded $
    connection, we take note of the recent Draft of the           175,000; (2) Public Justice is awarded $ 28,000 to support
    Principles of the Law of Aggregate Litigation by the          its Class Action Preservation Project; and (3) Consumer
    American Law Institute. With respect to the approval of       Watchdog is awarded $ 14,634. In addition, any accrued
    settlements providing for a Cy Pres remedy, the Draft         interest or refunded funds shall be awarded to Consumer
    proposes a rule limiting Cy Pres ″to circumstances in         Watchdog until no settlement funds remain.
    which direct distribution to individual class members is
    not economically feasible, or where funds remain after        It is so ordered.
    class members are given a full opportunity to make a
    claim.″ Draft § 3.08, entitled ″Cy Pres Settlements.″         Dated at Bridgeport, Connecticut, this 30th day of July
                                                                  2009.
Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423,
436 (2d Cir. 2007). In assessing the proper disbursement of       /s/
excess settlement funds, along with any cy pres award, I am
to consider other options, including where applicable the         Stefan R. Underhill
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                                                                           Page 8 of 8
                                2009 U.S. Dist. LEXIS 66654, *25

United States District Judge
